     Case 2:21-cv-03619-DMG-MAR Document 10 Filed 07/01/21 Page 1 of 7 Page ID #:51




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10
                         UNITED STATES DISTRICT COURT
11
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13     UNITED STATES OF AMERICA;          )   No. CV 21-03619-DMG (MARx)
14     AND THE STATE OF                   )
       CALIFORNIA, ex rel. [UNDER         )
15     SEAL],                             )   RELATOR’S REQUEST FOR
                                          )   DISMISSAL OF ACTION; UNITED
16                Plaintiff[s],           )   STATES’ AND THE STATE OF
                                          )   CALIFORNIA’S CONSENT;
17                       v.               )   STIPULATION RE UNSEALING OF
                                          )   CASE
18     [UNDER SEAL],                      )
                                          )
19                       Defendant[s].    )   [FILED UNDER SEAL PURSUANT
                                          )   TO THE FALSE CLAIMS ACT, 31
20                                        )   U.S.C. §§ 3730(b)(2) AND (3)]
                                          )
21                                        )
                                          )   [LODGED CONCURRENTLY
22                                        )   UNDER SEAL: [PROPOSED] ORDER
23                                        )   TO DISMISS ACTION AND TO
                                          )   UNSEAL CASE]
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     Case 2:21-cv-03619-DMG-MAR Document 10 Filed 07/01/21 Page 2 of 7 Page ID #:52




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                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13     UNITED STATES OF AMERICA;        )       No. CV 21-03619-DMG (MARx)
14     AND THE STATE OF                 )
       CALIFORNIA, ex rel. ANTHONY      )
15     INNABI,                          )       RELATOR’S REQUEST FOR
                                        )       DISMISSAL OF ACTION; UNITED
16             Plaintiffs,              )       STATES’ AND CALIFORNIA’S
                                        )       CONSENT; STIPULATION RE
17                    v.                )       UNSEALING OF CASE
                                        )
18     JULIAN OMIDI; MIRALI ZARRABI )
       SURGERY CENTER                   )       [FILED UNDER SEAL PURSUANT
19     MANAGEMENT, LLC;                 )       TO THE FALSE CLAIMS ACT, 31
       INDEPENDENT MEDICAL              )       U.S.C. §§ 3730(b)(2) AND (3)]
20     SERVICES, INC.; 1 800 GET THIN, )
                                        )
21                          Defendants. )       [LODGED CONCURRENTLY
22                                      )       UNDER SEAL: [PROPOSED]
                                        )       ORDER TO DISMISS ACTION AND
23                                      )       TO UNSEAL CASE]
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Case 2:21-cv-03619-DMG-MAR Document 10 Filed 07/01/21 Page 3 of 7 Page ID #:53
Case 2:21-cv-03619-DMG-MAR Document 10 Filed 07/01/21 Page 4 of 7 Page ID #:54




 1                CONSENTS OF THE UNITED STATES OF AMERICA
 2                           AND THE STATE OF CALIFORNIA
 3         Pursuant to 31 U.S.C. § 3730(b)(1) and California Government Code
 4   § 12652(c)(1), and in the interests of justice, the Attorney General of the United States
 5   of America (“United States”) and the Attorney General of the State of California,
 6
     through their undersigned attorneys, hereby consent to the dismissal of this action
 7
     without prejudice as to the United States and to the State of California.
 8
                                              Respectfully submitted,
 9    Dated: June 23, 2021
10                                            TRACY L. WILKISON
11                                            Acting United States Attorney
                                              DAVID M. HARRIS, AUSA
12                                            Chief, Civil Division
                                              DAVID K. BARRETT, AUSA
13                                            Chief, Civil Fraud Section
                                              ABRAHAM C. MELTZER, AUSA
14                                            Deputy Chief, Civil Fraud Section
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16                                            KAREN Y. PAIK
                                              Assistant United States Attorney
17                                            Attorneys for the United States of America
18
19    Dated: June 23, 2021                    ROB BONTA
                                              Attorney General of California
20                                            B
                                              y
21                                            RANDY GLASER
22                                            Deputy Attorney General
                                              California Department of Justice
23                                            Division of Medi-Cal Fraud and Elder Abuse
                                              Attorneys for the State of California
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Case 2:21-cv-03619-DMG-MAR Document 10 Filed 07/01/21 Page 5 of 7 Page ID #:55




 1                       STIPULATION RE UNSEALING OF CASE
 2         The United States, the State of California, and the Relator, through their
 3   respective attorneys of record and subject to the approval of the Court, stipulate that, of
 4   the papers filed or lodged to date with the Court in this action, the following
 5   documents should be unsealed:
 6         1.     The Relator’s Complaint;
 7         2.     The Relator’s Request for Dismissal of Action; United States’ and the
 8   State of California’s Consent; Stipulation re Unsealing of Case, and the accompanying
 9   proposed Order.
10         The United States, the State of California, and the Relator further stipulate that
11   all other papers filed or lodged to date in this action should remain permanently under
12   seal because such papers were provided by law to the Court alone for the sole purpose
13   of discussing the content and extent of the United States’ and the State of California’s
14   investigation, and, thereby, evaluating whether the seal and time for making an
15   election to intervene should be extended.
16         A proposed order is lodged concurrently herewith.
17                                        Respectfully submitted,
18    Dated: June 23, 2021                TRACY L. WILKISON
19                                        Acting United States Attorney
                                          DAVID M. HARRIS, AUSA
20                                        Chief, Civil Division
                                          DAVID K. BARRETT, AUSA
21                                        Chief, Civil Fraud Section
                                          ABRAHAM C. MELTZER, AUSA
22                                        Deputy Chief, Civil Fraud Section
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24                                        KAREN Y. PAIK
25                                        Assistant United States Attorney
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Case 2:21-cv-03619-DMG-MAR Document 10 Filed 07/01/21 Page 6 of 7 Page ID #:56
Case 2:21-cv-03619-DMG-MAR Document 10 Filed 07/01/21 Page 7 of 7 Page ID #:57




 1                            PROOF OF SERVICE BY E-MAIL
 2         I am over the age of 18 and not a party to the above-captioned action. I am
 3   employed by the Office of United States Attorney, Central District of California. My
 4   business address is 300 North Los Angeles Street, Suite 7516, Los Angeles, California
 5   90012.
 6         On June 24, 2021, I served the RELATOR’S REQUEST FOR DISMISSAL OF
 7   ACTION; UNITED STATES’ AND STATE OF CALIFORNIA’S CONSENT;
 8   STIPULATION RE UNSEALING OF CASE on each person or entity named below
 9   by e-mail.
10         Date of e-mailing: June 24, 2021. Place of e-mailing: Los Angeles,
11         California. Person(s) and/or Entity(s) to whom e-mailed:
12      MSchlein@BaumHedlunLaw.com                   Randy.Glaser@doj.ca.gov
13      Mark Schlein                                 Randy Glaser
        Baum Hedlund Aristei & Goldman,              State of California
14      P.C.                                         Office of the Attorney General, 1615
        10940 Wilshire Blvd., 17th Floor             Murray Canyon Rd Ste 700
15      Los Angeles, CA 90024                        San Diego, CA 92108-4321
16         I declare that I am employed in the office of a member of the bar of this Court at
17   whose direction the service was made.
18         I declare under penalty of perjury that the foregoing is true and correct.
19         Executed on June 24, 2021, at Los Angeles, California.
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22                                             CONNIE HOM
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